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                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                            WINSTON-SALEM DIVISION


In re:                                               )       Chapter 11
                                                     )
Product Quest Manufacturing, LLC, et al.,1           )       Case No. 18-50946
                                                     )       (Joint Administration Pending)
                                                     )
                Debtors.                             )
                                                     )


                                  NOTICE OF APPEARANCE

         Please take notice that Vicki L. Parrott of the firm of Northen Blue, LLP hereby enters an

appearance in this matter on behalf of Ei LLC (EI), Product Quest Manufacturing, LLC

(“PQM”), Scherer Labs International, LLC (“Scherer”), Product Quest Logistics, LLC (“PQL”),

JBTRS, L.L.C. (“JBTRS”), and PQ Real Estate LLC (“PQ Real Estate”, together with EI, PQM,

Scherer, PQL, and JBTRS, collectively, the “Debtors”). Ms. Parrott hereby requests that her

name be added to the mailing lists maintained by the Clerk in the above proceeding so that all

notices may be given to and served upon her at the address set forth below.




1
    The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: (i) Ei LLC (6099); (ii) Product Quest Manufacturing, LLC (4401);
    (iii) Scherer Labs International, LLC (5258); (iv) Product Quest Logistics, LLC (6199); (v)
    JBTRS, L.L.C. (1249); and (vi) PQ Real Estate LLC (4569). The Debtors’ service address is:
    2865 N. Cannon Blvd., Kannapolis, North Carolina 28083.
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Dated: September 10, 2018            Respectfully submitted,

                                     NORTHEN BLUE LLP

                                     /s/ Vicki L. Parrott
                                     John A. Northen
                                     North Carolina State Bar No. 6789
                                     jan@nbfirm.com
                                     Vicki L. Parrott
                                     North Carolina State Bar No. 25449
                                     vlp@nbfirm.com
                                     John Paul H. Cournoyer
                                     North Carolina State Bar No. 42224
                                     jpc@nbfirm.com
                                     1414 Raleigh Road, Suite 435
                                     Chapel Hill, North Carolina 27517
                                     Telephone: (919) 968-4441

                                     PROPOSED COUNSEL FOR THE
                                     DEBTORS-IN-POSSESSION




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